                                                             UNITED STATES COURT OF APPEALS
                                                             FOR DISTRICT OF COLUMBIA CIRCUIT
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                                                                        JUN 2 0 2023
                                  No. 23-5113
                                                                           'izIVED
           United States Court of Appeals for the District of Columbia


   David Alan Carmichael, Lawrence Donald Lewis, William Mitchell Pakosz
              (Deceased), Rick Hollingsworth, Michelle Boulton

                              Plaintiffs-Appellants



     Antony L. Blinken, in his official Capacity Succeeding Michael Richard
    Pompeo as Secretary of State, the United States Department of State, the
    United States, and Yet To Be Named Anonymous Co-Conspirators (not in
                              their official capacity)


    Appeal from the United States District Court for the District of Columbia
                         Case No l:19-cv-02316-RC
                     The Honorable Rudolph Contreras


     APPELLANTS' REPLY TO DEFENDANTS-APPELLEES RESPONSE TO
        "APPELLANTS' JOINT MOTION FOR ELECTRONIC FILING"



                                (Unrepresented)




                               Cover Plus 7 Pages
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                          23-5113
 APPELLANTS’ REPLY TO DEFENDANTS-APPELLEES RESPONSE TO
    ’’APPELLANTS’ JOINT MOTION FOR ELECTRONIC FILING”


      1.   The Appellees ("Government") responded to Appellants' ("Our") motion

for electronic filing (23-5113, Doc. # 2002882 responding to Doc. # 20026091.

They "(took) no position and defer(ed) to the Court's discretion on whether to grant

those privileges in this appeal" (Doc. # 2002882. p. 2, 1st |). Yet, the government

opposed what they called "Carmichael's motion" with regard to the earlier appeal

case no. 22-5143. It was a motion by all Appellants, appointing one person to

perform the service of process electronically for the benefit of the Court, the

Appellants and the Appellees. Admittedly, the rules allow for a party, pro se, to be

permitted to file electronically for the case to which he is a party. As far as the

cases numbered 23-5 111 and 23-5113, our motion is appropriate.

     2.    Initially, upon Carmichael, Lewis and Pakosz (Deceased with

Hollingsworth filing a docketing statement as substitute), filing a notice of appeal

and docketing statement under the context of the Carmichael, Lewis and Pakosz

case final dismissal (l:19-cv-02316), the Circuit Court Clerk filed the case as 23-

5111. Subsequently, the Clerk sua sponte consolidated the case of Carmichael,

Lewis and Pakosz under 23-5113. On first impression, we thought that 22-5143

was consolidated with 23-5 111 into the new number 23-5113 for the matter related

to Mr. Hollingsworth as moving for substitute of deceased Mr. Pakosz. There is
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nothing in the consolidation order to enable us novice pro se litigants to be able to

comprehend the consolidation order. The government Attorney's objection is

alerting us to that which we do not comprehend.

     3. Mrs. Boulton and Mr. Hollingsworth moved for consolidation of their 22-

5143 with what was then 23-5111 of Carmichael, Lewis and Pakosz (22-5143,

2001570, p. 5, § 11). Mr. Carmichael and Lewis filed with/in that document their

joining of the motion {Id. p. ii).

     4.   Mrs. Boulton has since moved to consolidate the cases, 22-5143 and 23-

5113 (currently in the mail). Because of the Government's objections here, we

have discovered that our presumption that the Court would consolidate the cases

sua sponte is possibly not correct. Hence, Mrs. Boulton is filing a docketing

statement for 23-5113 subsequent to this reply. Mr. Hollingsworth is as well.

     5.   Part of the substance of the Governments objection is that Mrs. Boulton,

"is not a party to these appeals (No. 23-5 111, No. 23-5113)." Mrs. Boulton and we

are doing our best to fix that problem.

     6.   The final objection by the Government is that Mr. Hollingsworth lacks a

court order, in our words - granting him power to act on his own behalf as a

substitute for deceased Mr. Pakosz. According to his brief, Mr. Hollingsworth is

not attempting to represent another person. That is a question that must be decided
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regarding Mr. Hollingsworth's matter filed in 22-5143 that is fully entwined in the

Pakosz matter which is part of 23-5111 and now 23-5113.

     7.   On June 13, 2023, Mr. Carmichael spoke with the Circuit Court Clerk's

office requesting to know the number of copies require for the various statements

and certifications that were due by June 16,2023. The Clerk's office person said

that they are no longer taking paper copies, and that there is no email address to

send documents to the Circuit court like there is in the district court. Hence, Mr.

Carmichael was told to send one copy that they will scan and put into the

electronic system.

    8.    Therefore, with Hollingsworth and Boulton intending to file docketing

statements to meet the June 22, 2023 deadline of the Clerk's order (Doc. 2000452).

the cases 22-5143,23-5 111 and 23-5113 ought to be consolidated.

(Signatures on the following pages)
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I, David Alan Carmichael, hereby certify under the penalty of perjury under the

laws of the United States, that the Circuit Court's Clerk's office told me over the

phone that they no longer take paper copies, that there is no email to accept pdf

courtesy files, and that I must serve single paper copies until I obtain CM/ECF

privileges. I consolidate documents and provide service of process for whomever

it is, by mail, knowing that service of process of documents is not "representing"

anyone. I hereby join Lewis, Hollingsworth, and Boulton in this reply. I also take

the situational opportunity to document that my word processing software freezes-

up in a buffering activity, only when I am typing in a document related to this case.

To stop it or prevent it, I have to disconnect the internet.




Sign:                                              Date:
David Alan Carmichael
Appellant
1748 Old Buckroe Road
Hampton, Virginia 23664
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1, Lawrence Donald Lewis, hereby join Carmichael, Hollingsworth, and Boulton in

this reply.

                                 /'■                    t/




Sign;                                         Date:             .sMA
Lawrence Donald Lewis
Appellant
966 Bourbon Lane
Nordinan, Idaho 83848
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   I, Rick Dale Hollihgsworth, hereby join Carmichael, Lewis, and Boulton in this

   reply.




   Sign:                                          Date:    njUA^
   Rick HbHingsworth
   Appellant
   14930 Greenbrier Lane
   Homer Glen, Illinois 60491
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  1, Michelle Boulton, hereby join Carmichael, Lewis, and Hollingsworth in this

  reply.




  Sign:                                          Date:
  Michelle Boult!
    3pellant
  8491 Hospital Dr., #f
  Douglasville, Georgia 30134-2412
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                              CERTIFICATE OF SERVICE


         I, David Alan Carmichael, certify that I served to the U.S. Court of
  Appeals, U.S. Circuit Court, District of Columbia, in the case of Carmichael, et
  al. V. Blinken, et al, Case no. 23-5113, "Appellants' Reply to Defendants-
  Appellees Response to "Appellants' Joint Motion for Electronic Filing". I served
  the court and parties at:
       Cleric United States Court of Appeals
       333 Constitution Avenue, N.W.
       Washington, DC 20001 (certified mail # 7019 0160 0000 9640 6647)
       David James Byerley
       U.S. Draartment of Justice
       (DOJ) Civil Division, Office of Immigration Litigation
       PO Box 868, Ben Franklin Station
       Washington, DC 20044-0868 (mail)
       Michelle Boulton
       8491 Hospital Dr., #178
       Douglasville, Georgia 30134-2412 (Electronically as agreed)
       Lawrence Donald Lewis
       966 Bourbon Lane
       Nordman, Idaho 83848 (Electronically as agreed)
      Rick Dale Hollingsworth
      14930 Greenbrier Lane
      Homer Glen, Illinois 60491 (Electronically as agreed)
      David Alan Carmichael
      1748 Old Buckroe Road
      Hampton, Virginia 23664 (Self)

I certify under the penalty of perjury under the laws of the United States of
America, that the foregoing is true.



David Alan Carmichael
1748 Old Buckroe Road
Hampton, Virginia 23664
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David Ala*                                                                                                                                   HAMPTON, VA
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Hampton, Virginia 23664                                                                                                                        (tc
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                                                            Clerk, United States Court of Appeals
                                                            333 Constitution Avenue, N.W.
                                                            Washington, D.C. 20001
